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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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KATHRYN TOWNSEND GRIFFIN, THE ESTATE
OF CHERRIGALE TOWNSEND and THE HELEN
CHRISTINE TOWNSEND MCDONALD TRUST,
                    Plaintiffs,                                       17   CIVIL 5221 (LLS)

                   -against-                                           JUDGMENT

EDWARD CHRISTOPHER SHEERAN, p/k/a ED
SHEERAN, ATLANTIC RECORDING
CORPORATION, d/b/a ATLANTIC RECORDS,
SONY/ATV MUSIC PUBLISHING, LLC, and
WARNER MUSIC GROUP CORPORATION, d/b/a
ASYLUM RECORDS ,
                      Defendant.
------------------------------------------------------------X


         The issues in the above-entitled action having been brought on for trial before the Honorable

Louis L. Stanton, United States District Judge, and a jury on April 24, 2023; The Court having

reserved its decision on Defendants' Fed. R. Civ. P. 50 motion for judgment as a matter oflaw and

renewed Rule 50 motion, and at the conclusion of the trial on May 4, 2023 , the jury having returned

a special verdict in favor of the defendants, it is,

         ORDERED, ADJUDGED AND DECREED: That the Complaint be and it is

hereby dismissed. The renewed Rule 50 motion for judgment as a matter of law is denied as moot.

DATED: New York, New York
       May 5, 2023


SO ORDERED
                                                                       RUBY J. KRAJICK
     I    -    .    ·L. j~~
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          USDJ                                                  BY:
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                                                                            Deputy Clerk
